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              EXHIBIT 7
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Mentzer, Stefan
From:                Mentzer, Stefan
Sent:                Tuesday, April 19, 2011 5:59 PM
To:                  'Gretchen Wallace'
Cc:                  Daniel.Lake; Cohen, Daniel; Audette, Danielle
Subject:             RE: United States ex rel. Ven-A-Care of the Florida Keys v. Actavis Mid Atlantic LLC - Civil
                     Action No. 08-10852-PBS


Gretchen,

We reviewed the spreadsheet and propose further narrowing the universe of documents to be
produced.

The database appears to contain several hundred thousand documents in total from custodians
likely to have responsive documents. By running the search terms that Sandoz proposed on
April 6, we are able to narrow the universe of documents substantially to about 200,000. (It
is our sense that the 200,000 figure may be greater than the number of unique documents. For
example, if a document contains both the words "AWP" and "4.19B," the document may have been
counted twice here. Or if the same e-mail was sent to three of the custodians, the document
may have been counted three times. Once de-duped, the number of documents to be reviewed may
decrease. Please confirm whether our understanding is correct.)

We further reviewed the names of the custodians and their respective positions to determine
whom, if anybody, we might be able to exclude in order to further narrow the number of
documents being requested. It is our view that documents kept by officials from the Pharmacy
Services bureau, Medicaid Program Analysis bureau, and the office of the Deputy Secretary for
Medicaid (as well as the documents from the "Pharmacy Group Share" and "Org Charts"
categories) are highly relevant. For purposes here, we are willing exclude from the search
the documents of Mr. Strowd and Ms. Morton, both of whom have worked in the Contract
Management bureau. Excluding those two individuals from the spreadsheet you provided reduces
the total document count to about 150,000 (again, subject to de-duping which may reduce the
number further).

Accordingly, Sandoz requests that the State produce all the documents reflected in the
spreadsheet except for those of Mr. Strowd and Ms. Morton. We believe this request is
reasonable and sufficiently narrow to minimize the burden on the State. Moreover, we
reiterate our position that Sandoz will not pay the State to produce these documents.
Florida is a party in the pending state action against a number of defendants including
Sandoz, and it will have to produce these (and most likely additional) documents anyway at no
charge to the requesting parties in that case.

We also reiterate our prior request that the State produce the folders of State Plan
Amendments, which we understand is a relatively small production. Again, Sandoz' position is
that it will not pay the State to make this production.

Please let us know if this proposal is acceptable, and we can then discuss a reasonable
timetable for producing documents.

Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
                                                     1
             Case 1:01-cv-12257-PBS Document 7552-7 Filed 05/20/11 Page 3 of 14
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com




-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Wednesday, April 13, 2011 8:35 AM
To: Mentzer, Stefan
Cc: Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject: RE: United States ex rel. Ven-A-Care of the Florida Keys v. Actavis Mid Atlantic LLC
- Civil Action No. 08-10852-PBS


(See attached file: 11-04-13AHCATerms by Custodian._Titlesxlsx.xlsx)

Stefan,

Here is the spreadsheet responsive to your request in the email below.

Sincerely,

Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From: "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:   "Gretchen Wallace" <Gretchen.Wallace@myfloridalegal.com>
Cc:   "Cohen, Daniel" <daniel.cohen@ny.whitecase.com>, "Daniel.Lake"
            <Daniel.Lake@ahca.myflorida.com>, "Audette, Danielle"
            <daudette@ny.whitecase.com>
Date: 04/08/2011 06:25 PM
Subject:    RE: United States ex rel. Ven-A-Care of the Florida Keys v.
            Actavis Mid Atlantic LLC - Civil Action No. 08-10852-PBS



Gretchen,
                                              2
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Please provide breakouts showing, for each document custodian, the number
of
documents resulting from each proposed search term. We may be able to
eliminate certain search terms and/or document custodians and thereby
reduce
the number of documents to review and produce. To facilitate this, please
also provide the names and positions of the document custodians in the
database.

Moreover, please respond to the other issues raised in my April 6 e-mail,
including whether the state can simply produce the entire database.
Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax:          + 1 212 354 8113
smentzer@whitecase.com




-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 08, 2011 6:01 PM
To: Mentzer, Stefan
Cc: Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject: RE: United States ex rel. Ven-A-Care of the Florida Keys v.
Actavis
Mid Atlantic LLC - Civil Action No. 08-10852-PBS


Dear Stefan:

This email is in partial response to your latest proposal set forth in your
email below.

The search terms you requested be applied to the existing database was
completed; there were 196,000 documents responsive to the key search term
hits. Accordingly, the estimate obtained just to review these documents is
as follows:


As requested, below is the estimate for the cost to review 196,000
documents in response to the 3rd Party subpoena. We are providing a three,
six and nine month estimates to complete the review.


3 months:

     -           8 hour work day
                                              3
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     -           60 documents per hour




|---------------------+---------------------+---------------------|
|       Service       |      Unit Cost      |     Total Price     |
|---------------------+---------------------+---------------------|
|Reviewers (7)        |$50.00 per hour      |$168,000.00          |
|---------------------+---------------------+---------------------|
|Review Managers (2) |$52.00 per hour       |$49,920.00           |
|---------------------+---------------------+---------------------|
|Project Manager (1) |$175.00 per hour      |$84,000.00           |
|---------------------+---------------------+---------------------|
|                     |                     |Total: $301,920.00   |
|---------------------+---------------------+---------------------|




6 months:

     -           8 hour work day
     -           60 documents per hour




|---------------------+---------------------+---------------------|
|       Service       |      Unit Cost      |     Total Price     |
|---------------------+---------------------+---------------------|
|Reviewers (4)        |$50.00 per hour      |$192,000.00          |
|---------------------+---------------------+---------------------|
|Review Managers (1) |$52.00 per hour       |$49,920.00           |
|---------------------+---------------------+---------------------|
|Project Manager (1) |$175.00 per hour      |$84,000.00           |
|---------------------+---------------------+---------------------|
|                     |                     |Total: $325,920.00   |
|---------------------+---------------------+---------------------|




9 months:

     -           8 hour work day
     -           60 documents per hour




|---------------------+---------------------+---------------------|
|       Service       |      Unit Cost      |     Total Price     |
|---------------------+---------------------+---------------------|
|Reviewers (3)        |$50.00 per hour      |$216,000.00          |
|---------------------+---------------------+---------------------|
                                              4
            Case 1:01-cv-12257-PBS Document 7552-7 Filed 05/20/11 Page 6 of 14
|Review Managers (1) |$52.00 per hour       |$74,880.00           |
|---------------------+---------------------+---------------------|
|Project Manager (1) |$175.00 per hour      |$63,000.00           |
|---------------------+---------------------+---------------------|
|                     |                     |Total: $353,880.00   |
|---------------------+---------------------+---------------------|




 The folders of State Plan Amendments have not yet been received. Once I
get them, I will provide you with an estimate of review time and any
associated costs of production. I will be out of the office on Monday and
back in the office on Tuesday. I will await your response to this cost
estimate and if you want to set up another meet and confer concerning your
current proposals, I am available any day next week except Monday.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From:        "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:          "Gretchen Wallace" <Gretchen.Wallace@myfloridalegal.com>
Cc:          "Audette, Danielle" <daudette@ny.whitecase.com>, "Cohen,
            Daniel" <daniel.cohen@ny.whitecase.com>, "Daniel.Lake"
            <Daniel.Lake@ahca.myflorida.com>
Date:        04/08/2011 12:33 PM
Subject:            RE: United States ex rel. Ven-A-Care of the Florida Keys
v.
            Actavis Mid Atlantic LLC - Civil Action No. 08-10852-PBS



Gretchen,

I am following up to see if the state has a response to these proposals
below
-- please let me know. Thanks,

Stefan

Stefan Mentzer
White & Case LLP
                                              5
             Case 1:01-cv-12257-PBS Document 7552-7 Filed 05/20/11 Page 7 of 14
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



-----Original Message-----
From: Mentzer, Stefan
Sent: Wednesday, April 06, 2011 11:56 AM
To: 'Gretchen Wallace'
Cc: Audette, Danielle; Cohen, Daniel; Daniel.Lake
Subject: United States ex rel. Ven-A-Care of the Florida Keys v. Actavis
Mid
Atlantic LLC - Civil Action No. 08-10852-PBS

Gretchen,

To follow up on our conversation yesterday, it is our understanding that
Florida has collected a folder of relevant portions of the Medicaid state
plans and amendments (including some but not all correspondence with CMS).
Also, in connection with the pending state case, Florida has developed a
database containing the documents of a number of custodians (I think you
mentioned twenty or so, including Jerry Wells) who are likely to have
documents responsive to the subpoena.

We propose the following:

1.                          Please produce a copy of the folder described
above this
week.

2.                         I am attaching a list of search terms that we are
asking
Florida to
run for all custodians and all time periods in the document database
described above. Please let me know the number of documents that result
from
each of these search terms and the expected time frame for producing these
documents. Alternatively, has the state completed a privilege review of
its
entire document database? If so, then we ask that the state simply produce
the database in its entirety.

3.                         At this time, we are not asking the state to
search for
documents
outside of items 1 and 2 described above. We reserve the right to request
additional documents upon receipt and review of the state's production.

As discussed, the state will provide us with an estimate of the cost of
producing these documents. However, as I mentioned, Sandoz does not agree
to
pay for the costs or expenses associated with the state's production of
documents responsive to the subpoena. There is no requirement under the
federal rules that a requesting party reimburse a subpoenaed party's
                                               6
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expenses, and moreover as reflected in my March 24 letter, Sandoz has made
substantial good-faith efforts to review the prior productions made by
Florida and to narrow the scope of the documents being requested under the
subpoena. In addition, the state appears already to have done most of the
legwork in collecting responsive documents for purposes of its state
action,
and the additional burden of running search terms and producing documents
responsive to the subpoena is minimal.

I am happy to discuss these issues further if you have any questions or
comments. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com




-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:27 PM
To: Mentzer, Stefan
Cc: Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject: RE: Sandoz subpoena - Letter from Stefan Mentzer

I will call you at 10 est on Tuesday. In case you need it, my direct line
is 850 414 3911. Thanks.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From:                      "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:                        "Gretchen Wallace"
<Gretchen.Wallace@myfloridalegal.com>
Cc:                        "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>,
                                              7
            Case 1:01-cv-12257-PBS Document 7552-7 Filed 05/20/11 Page 9 of 14
"Audette,
            Danielle" <daudette@ny.whitecase.com>, "Cohen, Daniel"
            <daniel.cohen@ny.whitecase.com>
Date:                      04/01/2011 04:24 PM
Subject:                         RE: Sandoz subpoena - Letter from Stefan
Mentzer



I am available at 10:00 am on Tuesday -- please let me know if that works
for
you. The number to call is 212 819 8705. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:21 PM
To: Mentzer, Stefan
Cc: Daniel.Lake; Audette, Danielle
Subject: RE: Sandoz subpoena - Letter from Stefan Mentzer

Monday is not good for me, but anytime Tuesday except for 3:p.m.-3:30 p.m.
is fine. Just give me a number to call. Thanks.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From:                                               "Mentzer, Stefan"
<smentzer@ny.whitecase.com>
To:                                                 "Gretchen Wallace"
<Gretchen.Wallace@myfloridalegal.com>
                                              8
             Case 1:01-cv-12257-PBS Document 7552-7 Filed 05/20/11 Page 10 of 14
Cc:                                                   "Daniel.Lake"
<Daniel.Lake@ahca.myflorida.com>,
"Audette,
            Danielle" <daudette@ny.whitecase.com>
Date:                                                 04/01/2011 04:14 PM
Subject:                                                    RE: Sandoz
subpoena - Letter from
Stefan
Mentzer



Gretchen,

Please let me know if you are available for a telephone conference on
Monday
to discuss the issues related to the subpoena. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:10 PM
To: Audette, Danielle
Cc: Daniel.Lake; Mentzer, Stefan
Subject: Re: Sandoz subpoena - Letter from Stefan Mentzer

Dear Ms. Audette and Mr. Mentzer:

Attached is our reply to Mr. Mentzer's letter dated March 24, 2011.

Sincerely,

Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com


(See attached file: 11-04-01WallaceLtr.Mentzer.pdf)



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From:
                       "Audette,
Danielle"
<daudette@ny.whitecase.com>
To:
                       "Gretchen
Wallace"
<Gretchen.Wallace@myfloridalegal.com>,
            "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>
Cc:
                       "Mentzer,
Stefan"
<smentzer@ny.whitecase.com>
Date:
                       03/24/2011
03:10 PM
Subject:
Sandoz subpoena -
Letter from
Stefan
Mentzer



Counsel,

Please see the attached letter from Stefan Mentzer.

Regards,
Dani Audette
Associate
Commercial Litigation Practice
White & Case LLP
1155 Avenue of the Americas
New York, NY 10036
(212) 819-8902
daudette@whitecase.com


=============================================================================




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(See attached file: 3-24-2011 Sandoz Ltr to FL.pdf)



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(See attached file: smm- (VAC) list of proposed search terms for
florida.DOC)



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